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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

GROVELAND MUNICIPAL LIGHT
DEPARTMENT,
Plaintiff,

Vv. C.A. No. 18-12003-MLW

PHILADELPHIA INDEMNITY
INSURANCE COMPANY,

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Defendant. )
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MEMORANDUM AND ORDER

 

WOLF, D.J. October 26, 2020

Plaintiff Groveland Municipal Light Department ("GELD")
alleges that defendant Philadelphia Indemnity Insurance Company
("PIIC") wrongfully refused GELD's claim for payment under bonds
issued by PIIC in connection with a municipal construction
contract. GELD seeks a declaratory judgment that it is a proper
claimant under the bonds, and has a valid and enforceable claim
against PIIC (Count 1). GELD also seeks damages for breach of
contract (Count 2), breach of the implied covenant of good faith
and fair dealing (Count 3), violation of M.G.L. ¢c.93A, §11 (Count
4), and violation of M.G.L. c.176D, §3 (Count 5). The parties
have filed cross motions for summary judgment.

For the reasons explained below, the court is granting PIIC's

motion for summary judgment.
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I. BACKGROUND

The following facts are not disputed. Plaintiff Groveland
Municipal Light Department is the sole supplier of electricity to
the town of Groveland, Massachusetts. Complaint (Docket No. 4) at
G11, 3. Defendant Philadelphia Indemnity Insurance Company is a
Pennsylvania Corporation with its principal place of business in
Pennsylvania. Notice of Removal at 6.

On March 30, 2016, GELD issued an invitation for bids in
accordance with M.G.L. c. 149, §44A et seg. for a public building
project (the "Project"). Following the bidding process, GELD
selected general contractor GTC Construction Management ("GTC") as
the lowest eligible bidder. Compl. at 8; PIIC Statement of Facts
("PIIC SOF") (Docket No. 13) at 42. GTC agreed to complete the
Project for $1,202,210, later raised to $1,235,764 as a result of
approved change orders, in a general construction contract entered
into with GELD on May 12, 2016 (the "Contract"). Complaint at {19-
10; PIIC SOF at 5.

GTC provided GELD with a Performance Bond and Payment Bond
issued by PIIC, each in the amount of $1,202,210. Compl. at 10;
PIIC SOF at 44. The Payment Bond was provided as security for all
persons working or providing materials in connection with the
Project, while the Performance Bond was provided as security for
the faithful performance of the Contract by GTC. See Complaint at

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GTC submitted applications for payment in the total amount of
$1,010,134.63 to GELD over the course of the Project. Complaint at
914; PIIC SOF at 96. GTC certified that all amounts due to
subcontractors had been paid in each application for payment. GELD
Statement of Facts ("GELD SOF") (Docket No. 14-1) 710. However, it
appears GTC did not actually pay some of them. Complaint at {{15-
16. GELD later received demands for payment directly from
subcontractors that had not been paid by GTC in the total amount
of $306,967.90, and paid them. Id. at 917; PIIC SOF at 410. GELD
believed that satisfaction of these demands was required by M.G.L.
c.30, §39F, which allows subcontractors that have not been paid by
a general contractor to demand payment from the awarding authority
directly. See PIIC SOF, Ex. 7; GELD SOF at 92. In combination with
the $1,010,134.63 already paid to GTC, GELD paid a total of
$1,317,102.83, $81,338.83 more than the Contract amount, including
approved change orders, of $1,235,764.00. Complaint at 118.

GELD made a demand for payment by defendant of the extra
$81,338.83 under the Payment Bond to PIIC on May 9, 2017.1 See PIIC
SOF at 910, Ex. 4. It told PIIC that it was not requesting payment
under the Performance Bond. See Docket No. 13-12. PIIC denied the

claim on the grounds the GELD was not a proper claimant under the

 

1 GELD originally demanded only $66,517.83. Its demand was
increased to $81,338.83 after it received a revised demand from
one of the subcontractors. See Docket No. 13, Ex. 9 (Demand Letter)
at 6 of 12.
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Payment Bond and had acted as a volunteer in satisfying the
subcontractors' demands in excess of the contract amount. See PIIC
SOF at 918, Ex. 8. GELD then made a demand for payment to PIIC
pursuant to M.G.L. c.93 on November 3, 2017, which PIIC also
denied. See PIIC SOF at 4919-23, Exs. 9-10. This litigation
followed.
II. PROCEDURAL HISTORY

GELD brought this action in Massachusetts Superior Court on
August 2, 2018. See Docket No. 4. PIIC was served with the
complaint on September 17, 2018, and filed a Notice of Removal on
September 24, 2018. See Notice of Removal (Docket No. 1) at f2.

GELD did not contest removal. In any event, removal was
permissible. PIIC timely filed a Notice of Removal and the
requirements of diversity jurisdiction are met. There is complete
diversity between the parties, and the Complaint seeks damages of
at least $81,338.83, in excess of the statutory required minimum
of $75,000. See 28 U.S.C. §1332(a); Complaint at 19.

Both parties have since filed motions for summary judgment on
all counts.

III. LEGAL STANDARDS
a. The Summary Judgment Standard

Federal Rule of Civil Procedure 56(a) provides that the court

"shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled
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to judgment as a matter of law." A factual dispute, therefore,
precludes summary judgment if it is "material" and "genuine." See

Anderson v. Liberty Lobby, 477 U.S. 242, 247-48 (1986).

 

A fact is "material" if, in light of the relevant substantive
law, "it has the potential of determining the outcome of the
litigation." Maymi v. Puerto Rico Ports Auth., 515 F.3d 20, 25
(lst Cir. 2008); Martinez-Rodriguez v. Guevara, 597 F.3d 414, 419
(lst Cir. 2010). "Only disputes over facts that might affect the
outcome of the suit under the governing law properly preclude the
entry of summary judgment." Anderson, 477 U.S. at 248.

"Cross motions for summary judgment neither alter the basic
Rule 56 standard, nor warrant the grant of summary judgment per
se." Wightman v. Springfield Terminal Ry. Co., 100 F.3d 228, 230
(Ist Cir. 1996) (internal citations omitted). "Cross motions
simply require [the court] to determine whether either of the
parties deserves judgment as a matter of law on facts that are not
disputed." Id.

IV. DISCUSSION

GELD alleges that PIIC's denial of its claims under the
"Bonds" constitutes a breach of contract (Count 2) and of the
implied covenant of good faith and fair dealing (Count 3), anda
violation of M. G. L. c.93A, §11 (Count 4) and M. G. L. ¢c.176D, §3
(Count 5). GELD also seeks a declaratory judgment that it is a

proper claimant and has a valid claim under the "Bonds" (Count 1).

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Although the Complaint indicates that these claims arise
under the "Bonds" generally, the parties' briefing almost
exclusively addresses the Payment Bond. This is understandable
because GELD told PIIC that it was not seeking payment under the
Performance Bond and, therefore, may not recover under it in this
case. See Docket No. 13-12. Moreover, the court need not consider
any argument raised in only a perfunctory manner. See United States
vy. Zannino, 895 F.2d 1, 17 (lst Cir. 1990) ("{I]ssues adverted to
in a perfunctory manner, unaccompanied by some effort at developed
argumentation, are deemed waived."); Brown_v. Trustees of Boston
Univ., 891 F.2d 337, 353 (1st Cir.1989) (accord). Therefore, to the
extent, if any, that GELD is seeking relief based on the
Performance Bond its claims are waived as well as unmeritorious.

a. Payment Bond

The Payment Bond binds PIIC and GTC to GELD "in the penal sum
[of $1,202,210]" obligated to GELD as security in the event that
GTC defaults on its obligation to pay "all persons, firms,
subcontractors, and corporations furnishing materials for or
performing labor" on the Project. See Payment Bond (Docket No. 13-
2) at H-1; Contract (Docket No. 14-3) §7.5.1.

PIIC contends that it properly denied GELD's request for
reimbursement under the Payment Bond because GELD is not an
authorized claimant under the it. According to PIIC, the terms of

the Payment Bond, the Contract, and M.G.L. c.149, §29 provide that

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only subcontractors or suppliers of materials may assert a claim
under the Payment Bond. See PIIC Mot. Summary Judg. (Docket No.
12) at 7-10. As GELD is an owner and obligee under the contract,
rather than a subcontractor or materialman, PIIC argues it is not
a proper claimant.

The court agrees that GELD is not a proper claimant under the
Payment Bond. Therefore, it is granting PIIC's motion for summary
judgment as to all claims arising from PIIC's obligations under
it.

Neither the Contract nor the Payment Bond expressly addresses
who is a proper claimant under it. Nevertheless, the court finds
that the Payment Bond, when read in conjunction with the Contract
and statutory payment bond scheme, M.G.L. c. 149, §29, limits
claimants to subcontractors and materialmen.

The Contract requires that Contractor, GTC, furnish a Payment
Bond "as a security for the payment of all persons performing labor
on the project under this Contract or furnishing materials in
connection with this contract." Contract (Docket No. 14-3) §7.5.1.
It references a form payment bond, which was used by the parties
in this case. The Payment Bond similarly provides that PIIC's
suretyship obligation will continue until the principal, GTC,
"shall promptly make payment to all persons, firms,

subcontractors, and corporations furnishing materials for or
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performing labor in the prosecution of the work provided for in
such contract ... ." Payment Bond (Docket No. 13-2) at H-1.

The statutory payment bond scheme clarifies who may assert a
claim under the Payment Bond. The instant Payment Bond was issued
pursuant to M.G.L. c. 149, §§29 and 44E(2), which require that a
general contractor selected for a public construction contract
with a value in excess of $25,000 furnish payment and performance
bonds to the awarding authority. See M.G.L. c. 149, §§29, 44E(2).
"A statutory payment bond is a contract, although its terms and
conditions are largely defined by statute, in this case, [M.G.L.
c. 149,) §29." N-Tek Const. Servs., Inc. v. Hartford Fire Ins.
Co., 89 Mass. App. Ct. 186, 191 (2016). The Contract acknowledges
that "other rights, duties, and obligations with respect to public
construction contracts are provided for by statute,
notwithstanding the fact that they are not provided from in the
Contract Documents." Contract (Docket No. 14-3) at §K.

Although the term "claimant" is not defined, analysis of
M.G.L. c.149, §29 indicates that the only claimants contemplated
by the statute are subcontractors and materialmen. Specifically,
in providing a time limitation on claims under payment bonds, the
statute provides that:

"any claimant having a contractual
relationship with the contractor principal
furnishing the bond [here, GTC] who has not

been paid in full for any amount claimed due
for the labor, materials, equipment,
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appliances or transportation . . . shall have
the right to enforce any such claim [] by
filing a petition in equity within one year
after the day on which such claimant last
performed the labor or furnished the labor,
materials, equipment, appliances or
transportation included in the claim . "

 

 

 

M.G.L. c. 149, §29 (emphasis added). The only claimants under the
Statute are, therefore, those that have “performed [] labor" or
"furnished. . . materials, equipment, appliances, or
transportation" for a general contractor or subcontractor
contracted by the general contractor. In other words, M.G.L. c.
149, §29 only permits actions on "such [payment] bonds by
subcontractors and materialmen." Floors, Inc. v. B. G. Danis of
New England, Inc., 380 Mass. 91, 93 (1980). Accordingly, the
Massachusetts Court of Appeals has interpreted §29 to limit
"eligible claimants" under a statutory payment bond to the two
classes of claimants contemplated in this section. See N-Tek, 89
Mass. App. Ct. at 191; see also 57 Mass. Prac., Mass. Construction
Law §9:28 ("In order to recover amounts due for labor and materials
furnished to a public construction project secured by a payment
bond issued pursuant to M.G.L. c. 149, §29, the claiming party
must be a qualified claimant under the statute.").

Courts have generally agreed that an owner or obligee is not
a proper claimant under a payment bond. See also Am. Mfrs. Mut.
Ins. Co. v. Sherborn Meadows, LLC, No. 0O7-11711-DPW, 2008 WL

5396479, at *5 (D. Mass. Dec. 22, 2008) (noting that the case law
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"does not favor an owner/obligee who seeks payment directly on a

payment bond"); Travelers Cas. & Sur. Co. v. Dormitory Auth.-State

 

of New York, 735 F. Supp. 2d 42, 87 (S.D.N.Y. 2010) ("{TJhe owner-
obligee may generally not recover damages from the surety under
the payment bond, as the bond is intended to provide payment to
persons supplying labor and material to the contractor, not to
provide a financial recovery to the owner-obligee."); Ayers

Enters., Ltd. v. Exterior Designing, Inc.,* 829 F.Supp. 1330, 1333

 

(N.D. Ga. 1993) ("[P]ayment bonds are intended to protect laborers
and materialmen rather than the obligee of the bond.").

Therefore, the court concludes that as an owner and obligee
under the Contract, GELD is not an eligible claimant under the
Payment Bond pursuant to §29.

Moreover, this case does not present a situation where GELD
may assert a claim under the Payment Bond on an equitable
subrogation theory. Courts have recognized a limited exception to
the general rule that an owner may not assert a claim under a
payment bond where an owner has been effectively compelled to pay
directly a subcontractor who could have brought a claim under the
payment bond. See Couch on Insurance §165:14 ("While an obligee
has a right of action on . . . harm sustained by him through a
breach of the contract, the obligee has no right thereon with
respect to the claims of laborers and materialmen, unless, through

payment, he has become subrogated to their claims."); Travelers

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Cas. & Sur. Co., 735 F. Supp. 2d at 88. The exception is limited
to "cases where a party is compelled to pay the debt of a third
person to protect his own rights, or to save his own property."

Broadway Houston Mack Dev., LLC v. Kohl, 71 A.D.3d 937, 937 (N.Y.

 

App. Div. 2010) (quotations omitted) (owner could not assert claim
under payment bond under subrogation theory where owner "failed to
demonstrate that those payments [to subcontractors] were necessary
to protect its legal or economic interests"). Similarly, the
Massachusetts Supreme Judicial Court has held that equitable
subrogation does not apply unless a purported subrogee, among other
things, "made the payment to protect his or her own interest [and]
did not act as a volunteer." E. Bos. Sav. Bank v. Ogan, 428 Mass.
327, 330 (1998).

Here, GELD has not provided evidence sufficient for a
reasonable fact-finder to conclude that it did not act as a
volunteer in making payments to subcontractors in excess of the
contract amount. GELD contends that it was compelled by M.G.L.
c.30, §39F(1)(d), the “direct demand" statute, to satisfy the
subcontractors' demands for payment including those in excess of
the total contract amount. M.G.L. c.30, §39F(1)(d) provides that
subcontractors for public construction projects may make demands
for direct payment on an owner, like GELD, if they are not paid by
the general contractor within 70 days after the subcontractor

completes their work. See M.G.L. ¢.30, §39F(1) (d). If the general

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contractor does not dispute these claims in a sworn reply within
ten days,? the owner must pay these demands within fifteen days,
less any amounts retained by the owner to complete unsatisfactory
or incomplete work or barred by court order. See M.G.L. c.30,
§39F(1)(d), (e). However, M.G.L. c.30, §39F(1)(g) provides a
limitation on the owner's obligation to pay such demands:

"All direct payments . . . shall be made out

of amounts payable to the general contractor

at the time of receipt of a demand for direct

payment from a subcontractor and out of

amounts which later become payable to the
general contractor .. . ." (emphasis added)

 

 

The provisions of §39F are also included in the Contract, as
required by law. See Contract (Docket No. 14-3) §K at 91.8.7.

As indicated by the express language of M.G.L. c.30, §39,
GELD was not required to make direct payments to subcontractors
that were in excess of the amount of its contract with GTC. Rather,
"(t]he statute [] limits the pool of funds from which direct
payments must be made to such funds that are then currently

'payable' to the general contractor." Gen. Mech. Contractors, Inc.

 

v. Peabody Const. Co., 2006 WL 2661235, at *4 (Mass. Super. Sept.

 

1, 2006). As explained earlier, when GELD received the demands for

 

2 Although GTC indicated in several letters that it believed the
subcontractors' demands for direct payment should be denied as GTC
disputed the amounts claimed (see Docket No. 13-7), PIIC does not
appear to contend that these letters constituted a formal dispute
under c. 30, §39F(d) which would excuse GELD from the statutory
obligation to pay these demands within fifteen days. See Docket
No. 14-4 at 14.

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direct payment in the amount of $306,967.90, only $225,629.37 -
the amount of the total contract sum including approved overages
that had not yet been paid to GTC - remained "payable to [GTC]."
See M.G.L. c.30, §39F. The additional $81,338.83 paid by GELD was
not then “payable to" GTC, and GELD does not allege, let alone
provided evidence, that this amount later became payable to GTC.
GELD argues that a municipal light plant, unlike a town, is
not subject to §39F(g)'s requirement that direct payments be made
out of amounts payable to the general contractor because it is not
subject to the budgeting and appropriations processes. See GELD
Mot. Summary Judg. (Docket No. 15) at 15. However, the statute
makes no such distinction. Moreover, the Contract states that the
rights, duties, and obligations with respect to public contracts
apply to it. See Contract (Docket No. 14-3) §7.6.1. M.G.L. ¢c.149,
§29 defines and limits those rights with regard to the Payment
Bond. GELD provides no authority supporting this distinction and,
in any event, the court finds its argument is unpersuasive
Accordingly, there are no genuine disputes of material fact
and PIIC is entitled to judgment as a matter of law that it is not
liable to GELD under the Payment Bond. The court is, therefore,
granting PIIC's motion for summary judgment on all counts with
regard to claims arising from PIIC's denial of GELD's claim for

reimbursement under the Payment Bond.

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b. Performance Bond

The Performance Bond functions as security against the
failure by GTC to complete the Contract according to its terms. It
states that PIIC is to hold $1,202,210 obligated to GELD until the
Principal, GTC:

shall well, truly, and faithfully perform its duties,

all the undertakings, covenants, terms, conditions and

agreements of [the Contract] . . . and if he shall

satisfy all claims and demands incurred under such
contract, and shall fully indemnify and save harmless

the Owner from all costs and damages which it may suffer

by reason of its failure to do so, and shall reimburse

and repay the Owner all outlay and expense which the

Owner may incur in making good any default
Performance Bond at G-1 (Docket No. 13-2).

Unlike the Payment Bond, PIIC concedes that GELD could be a
proper claimant under the Performance Bond. See PIIC Mot. Summary
Judg. at 9. However, PIIC asserts that GELD never made a claim
under the Performance Bond and that it would have denied any such
claim because GELD was not obligated to pay the subcontractors
amounts in excess of the total contract amount.

As indicated earlier, before fling suit GELD represented that
it was not making a demand to PIIC for payment under the
Performance Bond. Although counsel for GELD had referred to the
Performance Bond in a demand letter to PIIC, see, Docket No. 13-
10, he later clarified that he "mistakenly quoted from the

Performance Bond" and that "Groveland's claim will be made under

the Payment Bond." Docket No. 13-12. PIIC acknowledged and relied

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on this "clarification that Groveland's claim against [PIIC] is
against the Payment Bond issued by [PIIC] as opposed to its
Performance Bond." See Docket No. 13-13. As GELD informed PIIC
that it was not making a claim under the Performance Bond, PIIC
cannot be held liable for not paying such a possible claim.

In addition, the issue of whether or not PIIC is, or could
be, liable to GELD under the Performance Bond is addressed only in
a cursory fashion in GELD's briefing. More specifically, beyond
noting that the Performance Bond "contains similar language to
that contained in the Payment Bond," see GELD Mot. Summary Judg.
at 10, GELD does not make any argument regarding how PIIC breached
its obligations to GELD under the Performance Bond and how PIIC
could be liable to GELD under it. Therefore, the court deems any
claim based on the Performance Bond to have been waived, in
addition to being unmeritorious.

V. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. PIIC's Motion for Summary Judgment (Docket No. 11) is
ALLOWED.

2. GELD's Motion for Summary Judgment (Docket No. 14) is
DENIED.

3. Judgment shall enter for defendant.

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